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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MM and AM, minor plaintiffs, by their mother
DANIELLE MULLIN,
                                                              CIVIL ACTION
                        Plaintiffs,                           NO. 20-1438

       v.

RELIASTAR LIFE INSURANCE
COMPANY,

                        Defendant.




                                      CIVIL JUDGMENT

Before the Honorable Joel H. Slomsky

                AND NOW, this 2nd day of December 2021, in accordance with the Findings of

Fact and Conclusions of Law issued this date, and in accordance with the verdict of the advisory

jury (Doc. No. 45), it is ORDERED that Judgment be and the same is hereby entered in favor of

Defendant Reliastar Life Insurance Company and against Plaintiffs, MM and AM. The Clerk of

Court shall mark this case closed.




                                               BY THE COURT

                                                 ATTEST:
                                                    Matthew J. Higgins
                                                    Deputy Clerk
